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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                             No. CR 05-00167 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                  ORDER RE FORT JOINDER
                                                                         13   EDGAR DIAZ, RICKEY ROLLINS,
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,
                                                                              DORNELL ELLIS, EMILE FORT,
                                                                         15   CHRISTOPHER BYES, PARIS
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS Nos. ONE & TWO,
                                                                         17                 Defendants.
                                                                         18                                                /

                                                                         19          Defendant Emile Fort submitted a document, Clarification of Joinder Status, in which he
                                                                         20   purported to join the following motions:
                                                                         21          •      Motion for Disclosure of Grand Jury Testimony Pursuant to Federal Rule of
                                                                         22                 Criminal Procedure Rule 6(e)(1)(E)(I) and 6(e)(1)(E)(ii), made by defendant
                                                                         23                 Edgar Diaz;
                                                                         24          •      Motion for Disclosure of Ministerial Grand Jury Records, made by Edgar Diaz;
                                                                         25          •      Motion for Order Allowing Inspection and Copying of Jury Records, made by
                                                                         26                 Don Johnson;
                                                                         27          •      Motion to Preserve All Notes Taken By Law Enforcement Officers and All
                                                                         28                 Physical Evidence Seized, Processed or Examined by Federal, State and Local
                                                                                            Agencies, made by Don Johnson.
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                                                                          1           The Clarification of Joinder Status was filed June 29, 2006, the day after the hearings on
                                                                          2   the motions and, of course, after the government had filed its opposition. Normally, this would
                                                                          3   be enough to strike the entire joinder. Defendant Fort, however, will be allowed to join two of
                                                                          4   the motions for the following reasons. He may join the Motion for Disclosure of Ministerial
                                                                          5   Grand Jury Records, made by Edgar Diaz, because it was filed with the notation that it was
                                                                          6   made on behalf of all defendants. The government therefore was on notice that Fort was joining
                                                                          7   and had an opportunity to respond to any facts particular to him. Defendant Fort may also join
                                                                          8   the Motion for an Order Allowing Inspection and Copying of Jury Records, made by Don
                                                                          9   Johnson, because the government stated in its opposition that the motion was made on
                                                                         10   defendant Fort’s behalf. Because the government responded to the motion as if Fort had joined
                                                                         11   it, it is not prejudiced by a recognition now that he joined the motion. Defendant Fort, however,
United States District Court
                               For the Northern District of California




                                                                         12   cannot join the Motion to Preserve All Notes Taken By Law Enforcement Officers and All
                                                                         13   Physical Evidence Seized, Processed or Examined by Federal, State and Local Agencies, made
                                                                         14   by Don Johnson, or the Motion for Disclosure of Grand Jury Testimony Pursuant to Federal
                                                                         15   Rule of Criminal Procedure Rule 6(e)(1)(E)(I) and 6(e)(1)(E)(ii), made by defendant Edgar
                                                                         16   Diaz.
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                                                                         18           IT IS SO ORDERED.
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                                                                         20   Dated: July 5, 2006
                                                                                                                               WILLIAM ALSUP
                                                                         21                                                    UNITED STATES DISTRICT JUDGE
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